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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

 JULIAN VEGA-VALDEZ (true name:                Civil Case No. 4:16-cv-00040-BLW
 Edgar Soto-Chavez)
                                               Criminal Case No. 4:13-cr-00048-BLW
       Petitioner,

        v.                                     MEMORANDUM DECISION AND
                                               ORDER
  UNITED STATES OF AMERICA,

       Respondent.



                                  INTRODUCTION

      Before the Court is Defendant Julian Vega-Valdez’s Motion to Correct or Clarify

Judgment (Criminal Dkt. 142), which the Court will construe as a petition to correct his

sentence under 28 U.S.C. § 2255 (Civil Dkt. 1). For the reasons explained below, the

Court will grant the petition and issue an amended judgment, correcting the defendant’s

sentence. Under the amended judgment, defendant will be sentenced to a term of

incarceration for roughly 60 months, rather than the 70-month term previously imposed.

                                   BACKGROUND

      In January 2014, this Court sentenced Vega-Valdez to 70 months’ imprisonment,

to be followed by a four-year term of supervised release. The defendant now seeks to

“correct or clarify” his sentence. See Motion, Dkt. 142. He says the Court intended to

sentence him to roughly 60 months’ imprisonment instead, which would effectively

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credit him with time he spent in jail after the federal detainer was lodged and before he

was paroled by the State of Idaho. (The federal detainer was lodged on April 3, 2013 and

the State of Idaho paroled defendant on February 10, 2014.) The government agrees that

the “the court intended the defendant’s sentence to include credit for time back to . . . the

date the federal detainer was lodged.” Nov. 15, 2015 Notice of Non-Opposition, Criminal

Dkt. 153. The government further indicates that it will “defer[] to the court as to the

proper procedure to correct this error . . . .” Id. In short, then, the government has no

objection to defendant receiving a 60-month term of incarceration, rather than the 70-

month term imposed. Indeed, the government concedes that this is what the sentencing

judge intended to do. Under these circumstances, the Court will grant defendant’s

petition and issue an amended judgment.

                                       DISCUSSION

       Procedurally, the Court will construe defendant’s Motion to Correct or Clarify

Judgment (Dkt. 142) as a petition to correct his sentence under 18 U.S.C. § 2255.

       Section 2255 provides four grounds that justify relief for a federal prisoner who

challenges the fact or length of his detention: (1) “that the sentence was imposed in

violation of the Constitution or laws of the United States;” (2) “that the court was without

jurisdiction to impose such sentence;” (3) “that the sentence was in excess of the

maximum authorized by law;” and (4) that the sentence is otherwise “subject to collateral

attack.” 28 U.S.C. § 2255(a). Despite this seemingly broad language, “the range of

claims which may be raised in a § 2255 motion is narrow.” United States v. Wilcox, 640


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F.2d 970, 972 (9th Cir. 1981).

      As noted above, the government concedes that defendant is entitled to the relief

sought here. Further, the government has no objection to the procedure invoked to

accomplish this result. Accordingly, the Court will correct defendant’s sentence under 28

U.S.C. § 2255.

                                        ORDER

      IT IS ORDERED that:

      1.     Defendant Julian Vega-Valdez’s motion, which this Court has construed as

a Petition to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, is

GRANTED.

      2.     The Court will therefore prepare and enter a Second Amended Judgment

sentencing Defendant to 59 months and 23 days of incarceration, to be followed by a

term of supervised release of four years. The Second Amended Judgment shall not

include any recommendations to the Bureau of Prisons related to credit for time served.

All other terms and conditions of the January 23, 2014 Amended Judgment (Criminal

Dkt. 132) shall remain the same.


                                                DATED: February 4, 2016


                                                _________________________
                                                B. Lynn Winmill
                                                Chief Judge
                                                United States District Court


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